     Case: 1:10-cv-06517 Document #: 30 Filed: 03/22/11 Page 1 of 10 PageID #:550



                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

Flava Works, Inc.,                             )
                                               )
                  Plaintiff,                   )
                                               )             Honorable John F. Grady
             v.                                )
                                               )             Case No. 1:10-cv-06517
Marques Rondale Gunter d/b/a myVidster.com, )
SalsaIndy, LLC, John Does 1-26, Voxel Dot Net, )
                                                             JURY TRIAL DEMANDED
Inc.,                                          )
                                               )
                  Defendants.

            REPLY IN SUPPORT OF DEFENDANTS’ MOTION TO DISMISS
                      PLAINTIFF’S AMENDED COMPLAINT

       Plaintiff’s Response is a nullity; it fails to address the deficiencies of Plaintiff’s

Complaint identified by Defendants’ Motion. In fact, Plaintiff’s Response tacitly admits that

SalsaIndy’s analysis of the elements for each purported claim are proper, while failing to point to

any allegations in the Complaint that would meet those elements.             Nothing in Plaintiff’s

Response adequately addresses or cures the glaring deficiencies of the Complaint. Accordingly,

SalsaIndy respectfully requests that the Court grant its Motion and dismiss Plaintiff’s Complaint.

I.     PLAINTIFF’S COPYRIGHT INFRINGEMENT CLAIMS ARE DEFICIENT.

       Plaintiff’s Response does not remedy the deficiencies in all of its copyright infringement

claims, namely, direct copyright infringement, contributory copyright infringement, inducement

of copyright infringement, and vicarious copyright infringement.


       A.      As Plaintiff Admits, Though Fails to Plead, Volitional Conduct is Required to
               State a Claim for Direct Copyright Infringement.

       Plaintiff’s assertion that SalsaIndy had a “direct role in the infringement” is not only

untrue, it is simply not germane to a claim for a direct infringement. Plaintiff’s Response Brief
    Case: 1:10-cv-06517 Document #: 30 Filed: 03/22/11 Page 2 of 10 PageID #:551



at 4.1 As Plaintiff acknowledges, where a defendant’s computer system is merely used by a third

party to create a copy, as is the case here, a plaintiff must allege “volitional conduct” on the part

of the defendant, particularly in the case of a defendant that automatically transmits user material

through a technological process initiated by a third party. Plaintiff’s Response Brief at 4, citing

Religious Tech. Cir. v. Netcom On-Line Commc’n Servs., Inc., 907 F.Supp. 1361, 1370; CoStar

Group, Inc. v. Loopnet, Inc., 373 F.3d 544, 551 (4th Cir. 2004); ALS Scan, Inc. v. Remarq

Communities, Inc., 239 F.3d 619, 622 (4th Cir. 2002). Plaintiff’s baseless and conclusory

allegation that SalsaIndy played a “direct role” in the alleged infringement on the myVidster site

is not the equivalent of the volitional conduct necessary to support its claim.

       Moreover, Plaintiff’s reliance on Perfect 10, Inc. v. Cybernet Ventures, Inc., 167 F. Supp.

2d 1114, 1121-22 (C.D. Cal. 2001), to somehow support a direct infringement claim is

inapposite. As Plaintiff explains, the court in Perfect 10 refused to dismiss the direct copyright

infringement claim only because the relationship between the defendant and the infringing

websites, which were somehow affiliated with the defendant, was unclear, and there was a

chance that the defendant could have been a direct infringer acting through one of the affiliates.

Plaintiff’s Response Brief at 4. Here, there is no allegation of any affiliation between the alleged

direct infringers--i.e. the users of the myVidster website--and SalsaIndy or that SalsaIndy itself

directly infringed any of Plaintiff’s copyrighted materials. Therefore, the case is in no way

analogous to the facts at hand and fails to remedy Plaintiff’s failure to state a claim for direct

copyright infringement.




1
  Further, Plaintiff’s assertion that the cited authority in SalsaIndy’s Motion to Dismiss is irrelevant
because the cases were decided at the summary judgment stage both unsupported and absurd.



                                                   2
    Case: 1:10-cv-06517 Document #: 30 Filed: 03/22/11 Page 3 of 10 PageID #:552



       B.      Plaintiff’s Response Fails to Remedy Glaring Deficiencies in its Contributory
               Copyright Infringement Claim.

       Like its direct infringement claim, Plaintiff misstates the elements of contributory

copyright infringement, and accordingly fails to adequately plead facts that suggest Plaintiff’s

contributory copyright infringement claim is facially plausible.      As explained in SalsaIndy’s

Opening Memorandum, Plaintiff has failed to plead the first element: actual knowledge of the

specific infringing material. Monotype Imaging, Inc. v. Bitstream Inc., 376 F. Supp. 2d 877, 883

(N.D. Ill. 2005).   Plaintiff contends that its various takedown notices under the DMCA were

sufficient to impute actual knowledge of specific acts of infringement to SalsaIndy. Plaintiff is

wrong. Courts have addressed this issue and held that the bare claim of infringement by a

copyright holder in a DMCA notice is not enough to impute knowledge of an infringement for

purposes of assessing liability for contributory copyright infringement. CoStar, 164 F. Supp. 2d

at 707 (following Netcom, 907 F. Supp. at 1374). Therefore, Plaintiff’s claim is deficient and

should be dismissed.

       Even assuming arguendo that Plaintiff’s takedown notices were sufficient to impute the

requisite level of knowledge, Plaintiff still has not pled the second requirement for contributory

copyright infringement liability: that SalsaIndy took affirmative steps to materially contribute to

any alleged acts of infringement. Monotype, 376 F. Supp. 2d at 883. Plaintiff does not allege that

SalsaIndy failed to remove, stop or otherwise prevent the alleged infringement that Plaintiff

identified in its DMCA notices.     Rather, Plaintiff glosses over this element by asserting, “the

myVidster website continued to be updated with more and more infringing material from its

members” after DMCA Takedown notices were sent, without asserting any kind of relationship

between the conduct referred to in the notices and the supposed “more and more infringing

material.” Complaint ¶¶ 52-56. Such pleading is not only illogical, it fails to state a claim.




                                                 3
    Case: 1:10-cv-06517 Document #: 30 Filed: 03/22/11 Page 4 of 10 PageID #:553



        Tellingly, Plaintiff has not and cannot allege that SalsaIndy failed to expeditiously

remove any infringing content that was identified in the DMCA Takedown notices.2 Plaintiff’s

allegations that the myVidster website continued to be updated with additional infringing content

are irrelevant to whether SalsaIndy complied with the specific DMCA notices or somehow failed

to remove known infringements from the myVidster website. Plaintiff only has an obligation to

remove known infringements on his site. A& M Records, Inc. v. Napster, Inc., 239 F.3d 1004,

1021 (9th Cir. 2001). In fact, courts have clearly and affirmatively stated that an internet service

provider is under no obligation to actively monitor or police for new acts of infringement.

Rather, the burden is on Plaintiff to police and protect its own intellectual property rights.

Viacom International Inc. v. Youtube Inc., Nos. 07 Civ. 2103 (S.D.N.Y. June 23, 2010)

(“awareness of pervasive copyright-infringing, however flagrant and blatant, does not impose

liability on the service provider”); see also UMG Recordings, Inc. v. Veoh Networks, Inc., 665

F.Supp.2d 1099, 1108 (C.D. Cal. 2009). Accordingly, Plaintiff has failed to plead at least two

necessary elements of contributory copyright infringement and this claim should be dismissed.

        Finally, Plaintiff’s misstatements of the Ninth Circuit’s holding in Napster and the

Seventh Circuit’s decision in In re Aimster cannot save this deficient claim. Plaintiff suggests

that under Napster, material contribution occurs merely when a defendant offers the site and

facilities for direct infringement.    Plaintiff’s Response Brief at 7. Yet, in Napster, which

involved peer to peer file sharing, the court held that the defendant was liable for contributory

copyright infringement not merely because it offered the site and facilities for such infringement,

but because the defendant had actual knowledge that specific infringing material was available

and failed to remove that material. As noted above, Plaintiff has not and cannot make such an


2
 SalsaIndy did in fact immediately remove the allegedly infringing content, and at no point has Plaintiff
suggested otherwise.



                                                   4
    Case: 1:10-cv-06517 Document #: 30 Filed: 03/22/11 Page 5 of 10 PageID #:554



allegation in this case. Moreover, the Viacom court clearly noted the staggering difference

between a peer to peer file sharing defendant and an internet service provider who merely

“furnishes a platform on which its users post and access all sorts of materials as they wish, while

the provider is unaware of its content,” as is the case here. Viacom, Nos. 07 Civ. 2103.

       Plaintiff’s heavily reliance on In re Aimster Copyright Litig., 334 F.3d 643 (7th Cir.

2003) is equally unavailing. Plaintiff notably did not address the Seventh Circuit’s conclusion

requiring courts to consider the respective magnitudes of infringing and non-infringing uses

when determining whether an alleged contributory infringer acted with culpable intent. Id.;

Monotype, 376 F. Supp. 2d at 887; see also Arista Records LLC v. Lime Group LLC, 715 F.

Supp. 2d 481 (S.D.N.Y. 2010). Here, Plaintiff has neither disputed that the myVidster website

has substantial non-infringing uses nor attempted to allege that any purported infringing use

outweighs the non-infringing uses. Therefore, Plaintiff’s reliance on Aimster and Napster is

inapposite, and Plaintiff’s deficient claim for contributory copyright infringement should be

dismissed.


       C.      Plaintiff completely misstates the test for inducement of copyright
               infringement.

       Though the Supreme Court has clearly laid out the standard for inducement of copyright

infringement in Metro Goldwyn-Mayer Studios Inc. v. Grokster, 545 U.S. 913, 936 (2005),

Plaintiff erroneously claims that the standard for inducement is the same test as contributory

copyright infringement.     Specifically, Plaintiff asserts that inducement requires “that the

infringing activity induces, causes, or materially contributes to the infringing conduct of

another.” Plaintiff’s Response Brief at 9. The Supreme Court, however, held that to find

inducement one must “distribute a device with the object of promoting its use to infringe




                                                5
    Case: 1:10-cv-06517 Document #: 30 Filed: 03/22/11 Page 6 of 10 PageID #:555



copyright, as shown by clear expression or other affirmative steps taken to foster infringement.”

Id. at 781.


        Plaintiff has utterly failed to plead these required elements. Plaintiff’s mere allegations

that SalsaIndy offers online storage space to back up bookmarked videos in no way suggests that

SalsaIndy has promoted infringement on its site or otherwise took affirmative steps to encourage

any infringement. Plaintiff makes no other allegations that would support the assertion that

SalsaIndy was intentionally and actively encouraging other to infringe Plaintiff’s copyrights.

Accordingly, Plaintiff’s inducement claim is deficient and should be dismissed.


        D.     Plaintiff Fails to Sufficiently Plead That SalsaIndy Had a Right and Ability
               to Control Infringing Material and Received a Direct Financial Interest
               From any Infringing Material.

        Once again, Plaintiff misstates the elements for its claim: this time for vicarious copyright

infringement. In order to state this claim, Plaintiff must allege that SalsaIndy had the right and

ability to control the infringing activities as well as a direct financial interest in the infringing

activities. QSRSoft, Inc. v. Restaurant Tech., Inc., 2006 WL 3196928, *4 (N.D. Ill. Nov. 2,

2006), citing In re Aimster, 334 F.3d at 654. Plaintiff fails to successfully allege either of these

elements. First, Plaintiff erroneously suggests that the mere ability to block infringers’ access to

a particular environment is sufficient to constitute the right and ability to control the allegedly

infringing activities. Plaintiff’s Response Brief at 10. To the contrary, the right and ability to

control the infringing activity requires more than the ability to remove or block access to

materials posted on a website or stored on a system. CoStar, 164 F. Supp. 2d at 704; Tur v.

YouTube, Inc., 2007 WL 1893635 at *3 (C.D. Cal. June 20, 2007), citing Fonovisa, Inc. v.

Cherry Auction, Inc., 76 F.3d 259, 263 (9th Cir. 1996). Indeed, Plaintiff itself admits that

vicarious liability actually requires “pervasive participation” in the infringing activities.



                                                 6
      Case: 1:10-cv-06517 Document #: 30 Filed: 03/22/11 Page 7 of 10 PageID #:556



Plaintiff’s Response Brief at 10. Yet, Plaintiff completely fails to allege facts that suggest

SalsaIndy’s acts rose to the level of “pervasive participation” in any of the alleged infringement

or that SalsaIndy had any ability to control any content generated by users of the myVidster

website beyond blocking access to videos that were identified as infringing. Accordingly,

SalsaIndy does not have the right or ability to control any of the allegedly infringing conduct and

Plaintiff’s claim for vicarious infringement should be dismissed on this basis alone.

        Second, Plaintiff has also failed to plead that SalsaIndy has a direct financial interest in

the alleged infringement.       Plaintiff acknowledges in order to show the requisite financial

benefit, the complained of infringing activity must act as a “draw” for customers. Plaintiff’s

Response Brief at 11; Ellison v. Robertson, 357 F.3d 1072, 1078 (9th Cir. 2004).              Indeed,

Plaintiff is required to demonstrate that there is a causal relationship between the alleged

infringing activity and the financial benefit the defendant receives. Ellison, 357 F.3d at 1079. In

other words, Plaintiff must allege that customers either subscribed to the services because of the

available infringing material or cancelled their subscriptions because the infringing materials

were no longer available. Id. Plaintiff does not and cannot allege that any subscriptions or

cancellations to myVidster.com took place because of the availability of allegedly infringing

materials. Therefore, Plaintiff has failed to state a claim for vicarious copyright infringement on

this basis as well and this claim should be dismissed.

II.     PLAINTIFF’S TRADEMARK CLAIMS ARE BASELESS.

        Plaintiff has still failed to allege a crucial element of each of the trademark claims that it

has brought against SalsaIndy: use in commerce.            Though Plaintiff inexplicably suggests

otherwise, it is long-established and axiomatic that trademark infringement requires use of the

protected mark by a defendant in commerce. Telamed Corp. v. TEL-MED Inc., 588 F.2d 213,

216 (7th Cir. 1978) (to prevail in an action of trademark infringement, plaintiff must establish



                                                  7
    Case: 1:10-cv-06517 Document #: 30 Filed: 03/22/11 Page 8 of 10 PageID #:557



defendant used the trademark in commerce); Monotype Imaging 376 F. Supp. 2d 877 (N.D. Ill.

2005) (no direct trademark infringement because the mere presence of marks on the Internet did

not demonstrate whether they were used in association with any particular product or service and

plaintiffs failed to meet likelihood of confusion burden absent any evidence of the requisite use);

Vulcan Golf v. Google Inc. 552 F. Supp. 2d 752 (N.D. Ill. 2008) (Lanham Act prohibits the “use

in commerce” of a registered mark and “a requirement of trademark use is implicit in the

requirement that there be a likelihood of confusion for trademark infringement to occur”);

Euromarket Designs, Inc. v. Crate & Barrel Limited, 96 F. Supp. 2d 824 (N.D. Ill. 2000); Pure

Foods, Inc. v. Minute Maid Corp., 214 F.2d 792 (5th Cir. 1954), cert. denied., 348 U.S. 888

(1954); Lyon v. Quality Courts United, Inc., 249 F.2d 790 (6th Cir. 1957); Iowa Farmers Union

v. Farmers’ Educational & Co-op. Union, 247 F.2d 809 (8th Cir. 1957); Dawn Donut Co. v.

Hart’s Food Stores, 267 F.2d 358 (2d Cir. 1959); Tiffany & Co. v. Boston Club, Inc., 231

F.Supp. 836 (D. Mass. 1964); Maier Brewing Co. v. Fleischmann Distilling Corp., 390 F.2d 117

(9th Cir. 1968), cert. denied, 391 U.S. 966 (1968); World Carpets, Inc. v. Dick Littrell’s New

World Carpets, 438 F.2d 482 (5th Cir. 1971); Kampgrounds of America, Inc. v. North Delaware

A-OK Campground Inc., 415 F. Supp. 1288 (D. Del. 1976), aff’d without op., 556 F.2d 566 (3d

Cir. 1977); Golden Door, Inc. v. Odisho, 437 F. Supp. 956 (N.D.Cal. 1977). Here, Plaintiff fails

to allege that SalsaIndy used Plaintiff’s marks to sell, distribute, or advertise SalsaIndy’s goods

and services and has no good faith basis to make such an allegation. Therefore, Plaintiff’s

trademark claims are baseless under both federal and state trademark law.




                                                8
    Case: 1:10-cv-06517 Document #: 30 Filed: 03/22/11 Page 9 of 10 PageID #:558



                                        CONCLUSION

       Because Plaintiff failed to properly plead all claims in its Amended Complaint, SalsaIndy

respectfully requests that the Court dismiss Plaintiff’s Amended Complaint in its entirety.

                                           Respectfully submitted,


Date: March 22, 2011                       /s/William J. Lenz
                                           One of the Attorneys for Defendants,
                                           Marques Rondale Gunter and SalsaIndy, LLC

William J. Lenz
Gregory J. Leighton
Kathleen E. Blouin
Neal, Gerber & Eisenberg LLP
2 North LaSalle Street, Suite 1700
Chicago, Illinois 60602
312.269.8000




                                                9
   Case: 1:10-cv-06517 Document #: 30 Filed: 03/22/11 Page 10 of 10 PageID #:559



                              CERTIFICATE OF SERVICE


        I, Gregory J. Leighton, an attorney, state that I caused a copy of the foregoing,

Memorandum in support of Defendants’ Reply to Plaintiff’s Response to Defendants’ Motion to

Dismiss Plaintiff’s Amended Complaint, to be served upon the following counsel of record via

the Court’s ECF system on March 22, 2011:

                            Meanith Huon
                            Huon Law Office
                            P.O. Box 441
                            Chicago, Illinois 60690




                                                   /s/Gregory Leighton
                                                  Gregory J. Leighton

NGEDOCS: 1776792.4




                                             10
